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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO

United States of America
Vv.

Shaun M. STONEHAM Case No, _}18mj3281

AFFIDAVIT IN SUPPORT OF APPLICATION FOR ARREST WARRANT

I, Jason Guyton, being first duly sworn, hereby depose and state as follows:

INTRODUCTION AND AGENT BACKGROUND

l. I am a Special Agent with the Department of Homeland Security (DHS),
Homeland Security Investigations (HSI), currently assigned to HSI Cleveland, Ohio. | have been
so employed since March, 2009. As part of my daily duties as an HSI Special Agent, I investigate
criminal violations relating to child exploitation and child pornography including violations
pertaining to the illegal production, distribution, receipt and possession of child pornography, in
violation of 18 U.S.C. §§ 2252(a) and 2252A. I have received training in the area of child
pornography and child exploitation, and have had the opportunity to observe and review
numerous examples of child pornography (as defined in 18 U.S.C. § 2256) in all forms of media
including computer media.

a [ am an “investigative or law enforcement officer” of the United States within the

meaning of Section 2510(7) of Title 18, United States Code, and am empowered by law to
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conduct investigations of, and to make arrests for, offenses enumerated in Section 2516 of Title
18, United States Code.

3. This affidavit is being submitted for the limited purpose of establishing probable
cause that Shaun M. STONEHAM, age 38, currently residing on Jaycox Road in Avon Lake, OH
44012, violated Title 18, U.S.C. § 2252A(a)(5)(B) (accessing child pornography with intent to
view) and Title 18, U.S.C. § 2252A(a)(2)(A) (receipt of child pornography).

4, The statements contained in this affidavit are based upon my personal knowledge
and observations, my training and experience, conversations with other law enforcement officers
and witnesses, and the review of documents and records. This affidavit includes only those facts
that I believe are necessary to establish probable cause and does not include all of the facts
uncovered during the investigation.

RELEVANT STATUTES

Ds This investigation concerns alleged violations of:

a. 18 U.S.C. §§ 2252A(a)(5)(B), which prohibits a person from knowingly
accessing with intent to view any book, magazine, periodical, file, video
tape, compact disk or any other material that contains visual depictions
which were shipped or transported using any means and facility of interstate
or foreign commerce, or in or affecting interstate or foreign commerce, or
which was produced using materials that have been mailed, shipped, or
transported in and affecting interstate and foreign commerce by any means,
including by computer, the production of which involved the use of a minor
engaged in explicit conduct, and which visual depictions were of such

conduct.
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b. 18 U.S.C. §§ 2252A(a)(2)(A) and (b)(1), which prohibits a person from
knowingly receiving, diseibuting or conspiring to receive or distribute any
child pornography or any material that contains child pornography, as
defined in 18 U.S.C. § 2256(8), that has been mailed, or using any means
or facility of interstate or foreign commerce shipped or transported in or
affecting interstate or foreign commerce by any means, including by

computer.

rt In March 2012, HSI Phoenix initiated an investigation into a password-protected,
fee-based foreign website, identified herein as “Website M.”' The investigation continues.

8. In September 2017, HSI analyzed payment processor records associated with
Website M and identified individuals who made multiple purchases from Website M.

9. The payment processor records indicate that Shaun M. STONEHAM made
approximately four (4) purchases from Website M between June 26, 2017, and September 15,
2017.

10. | According to the payment processor records, the email address to which it wat the
auto-generated receipts and passwords for purchases made by STONEHAM on Website M was

jenthomas3432@yahoo.com (the “SUSPECT EMAIL ADDRESS”).

 

1 Law enforcement knows the actual name of Website M. However, the investigation into users of Website M
remains ongoing, and public disclosure of Website M’s actual name would potentially alert its members to the
investigation, likely provoking members to notify other members of the investigation, to flee, and/or to destroy
evidence. Accordingly, to preserve the confidentiality and integrity of the ongoing investigation, the actual name
and other identifying details of Website M remain undisclosed in this affidavit.

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11. Based upon the payment processor records and additional investigation by HSI it

was determined that STONEHAM purchased access to the files described below.

12. On July 3, 2017, STONEHAM purchased access to a file containing several
hundred images, including the two image files described below:

a. “lav-005-098” — this image file is part of a collection including 103
pictures of the same child. This image depicts a naked prepubescent female with her hair in
pigtails leaning back on her hands with her legs spread open exposing her genital and anus to the
camera. The child’s face is visible in the image and she is looking into the camera. There is a
watermark in the corner of the image that reads “Last Virgins”.

b. “lav-016-074” - this image file is part of a collection including 103 pictures of
the same child. This image depicts a naked prepubescent female sitting on rock with her legs
spread exposing her genitals to the camera. The child’s face is visible in the image and she is
looking into the camera. There is a watermark in the corner of the image that reads “Last
Virgins”.

13. | Asasecond example on September 15, 2017, STONEHAM purchased access to a
file containing several image and video files including the two video files described below:

a. “HD-139-Ina-11” — this 17 minutes 13 second video file depicts an early
pubescent female in the back of an SUV/van. The child is clothed at the beginning of the video
but quickly undresses. The child is receiving direction from an unknown individual off camera
throughout. The child is directed to use a sex toy which she rubs on her genitals and anus during

most of the video. The camera zooms in on the genitals and this sexual activity at various stages
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of the video.

b. “HD-141-M-14” — this 19 minutes 12 second video file depicts an pubescent
female who is fully nude. The child is receiving direction from an unknown individual off
camera throughout. The child can be observed inserting multiple sex toys into her mouth,
vagina, and anus throughout the course of the video. The camera zooms in on the genitals and
this sexual activity at various stages of the video.

14. On July 25, 2018, the U.S. Department of Homeland Security issued a summons
to Oath Holdings Inc. (formerly Yahoo Holdings, Inc) seeking subscriber information
concerning the email address “jenthomas3432@yahoo.com”. A review of the results obtained
on September 18, 2018, identified multiple IP addresses used to access this email account
between September 19, 2017, and July 24, 2018. One of these IP addresses was 50.4.146.166.
Oath also indicated that the alternate communication channel listed for this account is
2166453977. This is the phone number the U.S. payment processor captured at the time of
purchase.

15. A query of the publicly available online database “www. ip-tracker.org” revealed
that IP address 50.4.146.166 was registered to Wide Open West, Inc. and service resolved to
Avon Lake, Ohio.

16. On September 20, 2018, the U.S. Department of Homeland Security issued a
summons to Wide Open West, Inc. seeking subscriber information concerning the above IP
address. A review of the results obtained on September 28, 2018, identified the account holder
as residing on Jaycox Road in Avon Lake, Ohio 44012-1856 [SUBJECT PREMISES]. Results

further indicated that the account is active, and the date service was installed is October 4, 2012.
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17. A ccheck of the public records database Thomson Reuter CLEAR revealed that
STONEHAM is associated with the SUBJECT PREMISES as well as the address for Leo Luck’s
Auto Repair on Detroit Ave. in Rocky River, Ohio.

18. | Acheck with the Ohio Bureau of Motor Vehicles on or about September 24,
2018, revealed that an individual named Shaun M. STONEHAM with a date of birth of
XX/XX/1980, resides at the SUBJECT PREMISES.

19. On October 10, 2018, a search warrant, authorized by United States Magistrate
Judge Thomas M. Parker, was executed at the SUBJECT PREMISES. The warrant was
executed without incident and two (2) items (cellphone and tablet) were seized. STONEHAM
was present and voluntarily agreed to be interviewed in relation to this investigation.

20. Ina written statement STONEHAM stated that he utilized a commercial fee based
website to search for images of teen models between the ages of 13 and 18 years old.
STONEHAM stated he used the search terms non-nude teen, non-nude young teens, and non-
nude girls. STONEHAM stated that he recalled purchasing some child pornography in the
past. STONEHAM stated that the children were engaging in sexual acts or displaying
themselves sexually. STONEHAM was provided with a copy of the affidavit for search
warrant and admitted to purchasing the file referenced in paragraph 12 above. He also

admitted to receiving and viewing the images described in paragraphs 12a, 12b, and 13, above.
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CONCLUSION
21. Based on the foregoing, there is probable cause to believe that Shaun M.
STONEHAM violated Title 18, U.S.C. § 2252A(a)(5)(B) (accessing child pornography with

intent to view) and Title 18, U.S.C. § 2252A(a)(2)(A) (receipt of child pornography).

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7 Special Agent Jason M-Guy
y Homeland Security Inyestrgations

 

Sworn to via telephone after
submission by reliable electronic
means. Crim.Rules. 4.1; 41(d)(3)

 

United States Magistrate Judge

Electronically Signed
3:00 PM, Oct 10, 2018

 
